974 F.2d 1331
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James JOHNSON, Petitioner-Appellant,v.Kenneth TAYLOR, Warden, Maryland House of Corrections;  J.Joseph Curran, Jr., Attorney General for the Stateof Maryland, Respondents-Appellees.
    No. 91-6322.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 21, 1992Decided:  August 25, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Herbert N. Maletz, Senior District Judge.  (CA-90-2721-MJG)
      James Johnson, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Baltimore, Maryland, for Appellees.
      D.Md.
      Affirmed.
      Before SPROUSE, WILKINSON, and WILKINS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      James Johnson appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Johnson v. Taylor, No. CA-90-2721-MJG (D. Md. Sept. 25, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    